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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                         PLAINTIFF


V.                               4:21-CR-00147-01-LPR


AUGUSTUS SHENKER                                                 DEFENDANT

                          MOTION FOR CONTINUANCE

      Comes Augustus Shenker, through counsel, and for his Motion for

Continuance states:

      1. This matter is scheduled for trial beginning on May 24, 2022.       For the

following reasons, Shenker seeks a continuance. He is authorized to state that the

government, through AUSA Kristin Bryant, has no objection to the continuance

request.

      2.     The first reason is that medical tests on Shenker probably will not have

been completed.      Shenker suffered a stroke in utero which left him with certain

brain damage and noticeable physical disabilities. The neurologist retained by the

defense needs certain complex brain scans to be performed to determine the

existence of and extent of damage to parts of his brain which may have governed,

or significantly influenced, the accused conduct. The efforts to arrange these tests


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have consumed months because of the need to find a place in Arkansas or otherwise

nearby which has the particular equipment.1 This has been a frustrating experience,

but it appears that a location with the appropriate equipment has been found. When

confirmed and available dates ascertained, counsel will file a motion seeking that

Shenker be transported there. Counsel has offered to provide copies of the emails

involving the making arrangements for the tests to the government and is willing to

provide them to the Court as well.

       3.     The second reason is that negotiations for resolution of this matter are

ongoing. The complicating factor is that the actual conduct depicted on the items

allegedly produced by Shenker will likely also qualify as offenses prosecutable only

in state court.    Based on Arkansas precedent, these actions would fall within the

exception to the state statutory double jeopardy prohibition. In this exception to

statutory double jeopardy, successive federal and state prosecutions are permitted if

the latter prosecution is for a “substantially different harm or evil” than the federal

prosecution. Ark. Code Ann. § 5-1-113(1)(b)(i). See also Winkle v. State, 366 Ark.

318235 S.W.3d 482 (2006). Thus in this case, a negotiated resolution is practicable

only if both federal and state authorities are onboard with the resolution. As of a



       Shenker has been detained, and thus will have to be transported by the
       1


Marshal, to such test.
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week ago, the Pulaski prosecuting attorney had not received a law enforcement file

on the case despite the involvement of state law enforcement personnel in the matter.

That situation is being ameliorated.

      4. Of course, it is stipulated that the period of continuance is an excluded

period for purposes of speedy trial calculations.

      WHEREFORE, Shenker prays that a continuance be granted.

                                       AUGUSTUS SHENKER

                                       /s/ Jeff Rosenzweig

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